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  6

  7
                             UNITED STATES DISTRICT COURT
  8
                            CENTRAL DISTRICT OF CALIFORNIA

  9
        UNITED AFRICAN-ASIAN                    Case No:
  10    ABILITIES CLUB, ON BEHALF
  11
        OF ITSELF AND ITS                       COMPLAINT
        MEMBERS; JESSIE JAMES
  12    DAVIS IV, An Individual                 DISCRIMINATORY
  13                                            PRACTICES
                            Plaintiffs,         [US Fair Housing Act of 1988 [42
  14
                                                U.S.C. §§ 3600 et seq, §3604(c),
  15          v.                                §3604(f)(1-3), et seq.; CA
                                                Government Code 12925, 12927,
  16
        WHITE OAK, LP; AND DOES 1               12955; CA Civil Code §§ 51, 52,
  17    THROUGH 10, Inclusive                   54.3
  18
                            Defendants.         DEMAND FOR JURY TRIAL
  19

  20
                                          INTRODUCTION
  21
       1.    Plaintiffs make the following allegations in this civil rights action:
  22                              JURISDICTION AND VENUE
  23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
  24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
  25
       apartment property consist of four (4) or more residential units), and 42 U.S.C. §
  26
       12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
  27
       United States District Court for the Central District of California pursuant to 28
  28

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  1
       U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
  2
       Judicial District.
  3
                                SUPPLEMENTAL JURISDICTION
  4
       3.      This United States District Court for the Central District of California has
  5
       supplemental jurisdiction over the California state claims as alleged in this
  6
       Complaint pursuant to 28 U.S.C. § 1367(a).
  7
                     NAMED DEFENDANTS AND NAMED PLAINTIFFS
  8
       4.    The term Plaintiffs as used herein specifically include the corporate Plaintiff
  9
       entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
  10
       Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
  11
       Plaintiff Jessie James Davis IV (hereinafter referred to as “Davis” or the “named
  12
       Individual Plaintiff”. The Plaintiff Club and Plaintiff Davis are sometimes
  13
       collectively referred to as the “named Plaintiffs” or “Plaintiffs”.
  14
       5.    Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
  15
       good standing as a Nevada corporation. The named individual Plaintiff Davis is a
  16
       member of the Plaintiff Club organization.
  17
       6. Plaintiffs are informed, believe, and thereon allege that named Defendant
  18
       WHITE OAK, LP is the operator of the apartment rental business known as White
  19
       Oak Lassen Apartments located at 9907 White Oak Avenue Northridge, CA 91325.
  20
       Plaintiffs are informed, believe, and thereon allege that Defendant WHITE OAK, LP
  21

  22
       is the owner, operator, and/or lessor of the real property located at 9907 White Oak

  23
       Avenue Northridge, CA 91325 (hereinafter referred to as the “Property”).

  24
       7.    Defendant WHITE OAK, LP is, and at all times mentioned herein were, a

  25
       business or corporation or franchise, organized and existing and/or doing business

  26
       under the laws of the State of California. Defendants Does 1 through 10, were at all

  27
       times relevant herein subsidiaries, employers, employees, and/or agents of the named

  28

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  1
       Defendants.
  2
                                    CONCISE SET OF FACTS
  3
       8.    The named Individual Plaintiff Davis has cerebral palsy, uses a wheelchair for
  4
       mobility, and is unable to walk any distance. Plaintiff Davis also has limited
  5
       mobility in his hands and upper body. Plaintiff Davis is also a member of the
  6
       Plaintiff Club. The individual Plaintiff Davis had specific dates wherein he intended
  7
       to go the Defendant’s Property to access Defendants’ rental services. Plaintiff Davis
  8
       has actual knowledge of the overt and obvious physical and communication barriers
  9
       at Defendants’ Property. Plaintiff Davis determined that the open and obvious
  10
       physical barriers that exist at Defendants’ Property directly related to his disabilities,
  11
       and that it would be impossible or extremely difficult for him to physically access
  12
       Defendants’ on-site rental services. Plaintiff Davis had knowledge and determined
  13
       that it would be futile gesture for him to go to the Property on the date that he had
  14
       intended. The named Individual Plaintiff Davis was deterred by his actual
  15
       knowledge of the physical and communication barriers that exist at Defendants’
  16
       Property and website. See ¶¶ 25.
  17
       9. The named Individual Plaintiff attempted to use Defendants’ website to access
  18

  19
       Defendants’ online rental services, but had great difficulty due to his disabilities.

  20
       The named Individual Plaintiff also could not determine from Defendants’ website

  21
       content whether Defendants’ office on or off the property and common areas were

  22
       physically accessible to him. The named Individual Plaintiff requested that Plaintiff

  23
       Club assist him to obtain information regarding the physical accessibility of

  24
       Defendants’ on-site office where Defendants’ offer its rental services. In response to

  25
       the named Individual Plaintiff’s request, Plaintiff Club sent one of its members to
  26   Defendants’ physical on-site office. The named Individual Plaintiff personally
  27   reviewed all the information and photographs of Defendants’ property. As a result,
  28

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  1
       the named Individual Plaintiff has actual knowledge of the overt and obvious
  2
       physical and communication barriers at Defendants’ Property. The named Individual
  3
       Plaintiff determined that the open and obvious physical barriers that exist at
  4
       Defendants’ Property directly related to his disabilities, and that it would be
  5
       impossible or extremely difficult for him to physically access Defendants’ on-site
  6
       rental services. See ¶¶ 25. The named Individual Plaintiff had actual knowledge and
  7
       determined that it would be futile gesture for him to go to the Property on the date
  8
       that he had intended. The named Individual Plaintiff was deterred by his actual
  9
       knowledge of the physical and communication barriers that exist at Defendants’
  10
       Property and website. The named Individual Plaintiff made a written request to
  11
       Defendants’ for an accommodation to have equal access to Defendants’ rental
  12
       services and to eliminate the communication and physical barriers to Defendants’
  13
       rental services, both online and at the property. At the end of this action, the named
  14
       Individual Plaintiff intends to return to Defendants’ website and physical office on or
  15
       off the site location to obtain rental information and verify that the communication
  16
       and physical barriers to Defendants’ rental services are removed.
  17
       10.   The named Plaintiff Club is an organization that advocates on the behalf of its
  18
       members with disabilities when their civil rights and liberties have been violated.
  19
       Plaintiff Club investigated Defendants’ websites and apartment Property in March,
  20
       2022, in April, 2022, and in May, 2022. Plaintiff Club member Sharon Riguer
  21

  22
       investigated the Property on the Internet websites. Plaintiffs also investigated the

  23
       property. The results of the research from Club Member Sharon Riguer are contained

  24
       in the Exhibit B to this Complaint. Club members ascertained that Defendants’

  25
       rental services at Defendants Property were not physically accessible to Davis by a

  26
       Club member who went to Defendants’ apartment Property, and said Club member

  27
       attempted to access Defendants’ on-site rental services.

  28

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  1
       11.   Plaintiff Club diverted its time and resources from its normal purposes
  2
       because of Defendants’ service, policy, program and physical barriers to Defendants
  3
       rental services at Defendants’ websites and Property. Club personnel conducted
  4
       detailed Internet searches to determine if Defendants provide large print, deaf
  5
       interpreter, therapy animal, the required reasonable accommodation policy, and
  6
       required reasonable modification policy. Further, the Club retained contractors to
  7
       investigate said policies, to survey the property, to photograph the property, to
  8
       investigate when the Property was constructed, to investigate the Property ownership
  9
       and to have an access report prepared. Plaintiff Club also diverted staff to
  10
       investigate Defendants' Internet presence to determine compliance with the FHA and
  11
       ADA. Plaintiff Club also investigated Defendants' written rental materials such as
  12
       brochures, rental applications and leases. Moreover, Plaintiff Club made an oral
  13
       investigation to ascertain Defendants' companion animal, deaf interpreter and
  14
       reasonable accommodation and reasonable modification policies. Plaintiff Club also
  15
       caused a physical access consultant to be retained to survey Defendants' facility.
  16
       Plaintiff Club’s findings regarding Defendants’ rental services and facilities were
  17
       incorporated into an Access Report. The Access Report also details the known overt
  18
       and obvious physical access violations at the Property, but it is not intended as an
  19
       exhaustive list of existing violations. Due to these necessary activities to investigate,
  20
       Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
  21

  22
       Club suffered injury and also suffered monetary damages due to the diversion of the

  23
       Club’s resources from its normal purposes.

  24
       12.   Plaintiffs allege that Defendants control, operate, and maintain web pages at

  25
       different apartment websites where Defendants offer its rental services.

  26
       Additionally, Defendants have a physical office location at the Property where they

  27
       also offer their rental services.

  28

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  1
       13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
  2
       physical site rental services because the websites refer to Defendants’ rental services
  3
       that are offered at Defendants’ actual physical office on or off the site. Therefore,
  4
       Plaintiffs allege that the websites are also places of public accommodation.
  5
       Defendants control the websites to the extent that Defendants can change the website
  6
       content to make modifications to comply with the FHA and ADA. Therefore,
  7
       Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
  8
       improve access for Plaintiffs and people with disabilities.
  9
       14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
  10
       TTY number or the text messaging system for Plaintiffs and other people that are
  11
       deaf or people with speech conditions. Plaintiff Club members have a speech
  12
       disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
  13
       websites to eliminate non-readable text to allow the blind and people with low vision
  14
       to use the screen reader software to access the information on the website, yet they
  15
       also failed to use large print on their websites. See Exhibit B to this Complaint.
  16
       Plaintiffs assert that most popular screen reader programs are called Jobs Access
  17
       With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions
  18
       discriminate against Plaintiff Club, specifically Club members who have low vision
  19
       disabilities. Each of the Club members above cannot use the websites controlled by
  20
       the Defendants. Modifications to Defendants’ websites will not fundamentally alter
  21

  22
       the rental services provided and will also not cause an undue burden to Defendants,

  23
       because the cost is less than One Thousand Dollars ($1,000).

  24
       15.   On March 20, 2022, and on April 8, 2022, Plaintiff Club attempted to make a

  25
       request to the Defendants for reasonable accommodation at the property. On May

  26
       16, 2022, the named individual Plaintiff Davis and Plaintiff Club emailed to the

  27
       Defendants a written request for a reasonable accommodation. In May, 2022,

  28

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  1
       Plaintiff Davis and Plaintiff Club, mailed a written request for a reasonable
  2
       accommodation. Defendants failed to respond to both Plaintiffs requests for
  3
       reasonable accommodation as of the date of the filing of this Civil Complaint.
  4
       16.   Plaintiffs are not able to access Defendants rental services due to existing
  5
       overt and obvious communication and physical barriers to access Defendants’ rental
  6
       services both at its online website and at the physical office. Due to the overt and
  7
       obvious physical barriers as alleged herein below, which are required to be removed,
  8
       Plaintiffs requested that Defendants accommodate them to provide access to
  9
       Defendants’ rental services.
  10
       17.   The named Plaintiffs allege that an accommodation is also obvious when a
  11
       whole group of the protected persons requires it. For example, when the public
  12
       without disabilities are required to get up to a second level, the public would be very
  13
       disturbed if they were required to request steps to go up to second level. When the
  14
       accommodation is specific to a particular person with a disability, then that person
  15
       may be required to make a request, because the accommodation is not obvious.
  16
       18.   Plaintiffs allege that they are not required to make a request for reasonable
  17
       accommodation and for auxiliary aids when the barriers to communication are overt
  18
       and obvious. However, in the present case, Plaintiffs did make such requests for
  19
       accommodation to eliminate overt and obvious barriers to its rental services
  20
       communications. Plaintiffs allege that providing effective contact information for
  21

  22
       Defendants’ rental services on the internet is an obvious accommodation. The

  23
       general public does not need to request a contact number from the Defendant

  24
       apartment owner or operator when they desire to rent a place. Defendants provide the

  25
       contact number on their website. Therefore, Plaintiffs allege that Defendants are

  26
       required to provide the obvious accommodation of effective communication for

  27
       people that are deaf or with speech impediment on their website without a request.

  28

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  1
       Defendants must make their rental services accessible without the need for a prior
  2
       request. Furthermore, Defendants have a duty to remove architectural barriers and
  3
       communication barriers to their rental services without request.
  4
       19. Plaintiffs allege that there is disparate treatment on the internet related to the
  5
       amenities being offered to people without disabilities and people with disabilities.
  6
       All the below facts and the facts stated elsewhere herein have a disparate impact on
  7
       the disability community. The named Plaintiffs experienced and have knowledge of
  8
       the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
  9
       operates an apartment property. The property is located at 9907 White Oak Ave,
  10
       Northridge, CA 91325. The property was built in 1978 and has 80 stories with 3
  11
       units. The rent is approximately: $1,626 - $1,936. The internet provides a wealth of
  12
       information regarding the property. The internet advertises that the property has
  13
       amenities that include: Laundry Facilities, Clubhouse, Fitness Center, Pool,
  14
       Playground, Grill, High Speed Internet Access, Air Conditioning, Smoke Free,
  15
       Dishwasher, Disposal, Refrigerator, Pet Policies (No Pets Allowed), Parking Surface
  16
       Lot 1 space, Assigned Parking, Application Fee $15, Gas, Water, Trash Removal.
  17
       The property advertises on lowincomehousing.us, apartmentguide.com, yelp.com,
  18
       rent.com, apartmenthomeliving.com, forrent.com. It is very important to know that
  19
       on apartmentguide.com, rent.com, apartmenthomeliving.com, forrent.com there is
  20
       the equal housing opportunity logo. The plaintiff alleges that there is disparate
  21

  22
       treatment on the internet related to the amenities being offered to people without

  23
       disabilities and people with disabilities. For example, the tow signage was not

  24
       installed. The accessible parking space had an access aisle, which was not van

  25
       accessible. The aisle did not have the “no parking” included in the access aisle. The

  26
       office had a high threshold. There was no International Symbol of Accessibility

  27
       signage. The Internet does not state the accessible amenities at all. Also, the

  28

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  1
       statement the “equal housing opportunity statement” is misleading. In fact, the
  2
       property is not completely accessible. All the above facts and the facts stated herein
  3
       have a disparate impact on the disability community.
  4
       20.   On Defendants’ websites, they allow the public without deafness and without
  5
       speech impairments to participate by providing them with a telephone number to
  6
       call. However, Plaintiff Club members that are deaf and or with speech impairments
  7
       are denied equal access to participate because the Defendants do not have any
  8
       effective communication.
  9
       21.   Defendants provide websites for people without disabilities to benefit from the
  10
       rental services without going to the apartments to learn about the properties.
  11
       However, for people with disabilities that require the access to the facility, the
  12
       Defendants do not provide any information on the websites regarding if the office on
  13
       or off the site is accessible. Moreover, the Defendants provide the telephone number
  14
       for the public to call to inquire about the rental services without providing any
  15
       effective alternative communications for Plaintiffs and other people that are deaf or
  16
       have speech impairments.
  17

  18
       22.   For people without disabilities, the Defendants provide all of the information

  19
       on their websites. For Plaintiffs with disabilities, Defendants require them to travel to

  20
       the Property to determine if it is accessible, then require them to request the effective

  21
       communication, and then thereafter to request a reasonable accommodation to the

  22
       overt and obvious communication barrier. Therefore, Defendants require Plaintiffs

  23
       and other people with disabilities to suffer a separate benefit.

  24
       23.   Additionally, the named Plaintiffs are alleging photograph discrimination
  25   related to the physical access of each of the apartments within Exhibit B to this
  26   complaint. The purpose of Defendants’ internet photographs is to entice perspective
  27   renters to apply online or to contact the Defendants to rent a place. Defendants’
  28

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   1
        internet photographs only entice people without mobility disabilities. Defendants’
   2
        internet photographs exclude any photographs of any accessible features that would
   3
        aid the Plaintiffs. For example, there is no photograph of accessible parking. There
   4
        are no photographs of the accessible route to the office on or off the site. There are
   5
        photographs of the accessible route to the manager's office. There are no photographs
   6
        related to the access to get into and use the rental or manager's office. There are no
   7
        photographs related to the accessible route of the common area. There are no
   8
        photographs of the accessible units. In fact, all the photographs lead a person with a
   9
        mobility disability to believe that the apartments are not accessible, or that they must
   10
        have someone go to the properties to make sure it is accessible. However, people
   11
        without disabilities are not required to go to the Property to see if it is accessible.
   12
        24.   Defendants websites and Defendants’ rental services are not integrated for
   13
        people with disabilities as required. Plaintiffs are required to request an
   14
        accommodation. People without disabilities can access the websites and the rental
   15
        services without any problem, but Plaintiffs and other people with disabilities are
   16
        required to request for separate rental services. People with mobility conditions are
   17

   18
        not integrated when using the websites because they must go to the apartments to

   19
        determine if they are accessible, but people without disabilities need only access

   20
        Defendants’ websites to determine they can use them. People that are blind and with

   21
        low vision disabilities must request help to read the website information because the

   22
        printed information is too small, but people without disabilities can access the

   23
        websites without asking for help. Plaintiffs and other people with deafness or people

   24
        with speech condition must ask for help calling the number on the websites, because
   25   Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
   26   texting system. Defendants discriminated against the Plaintiffs.
   27

   28

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   1
        25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
   2
        in March, 2022, and in April, 2022, to access the Leasing Office. The Named
   3
        Individual Plaintiff has actual knowledge of Defendants’ overt and obvious physical
   4
        barriers, that relate to this Plaintiff’s disabilities, to Defendants’ Property on-site
   5
        Leasing Office that this Named Individual Plaintiff intended to visit in March, 2022,
   6
        and in April, 2022, but this Plaintiff was deterred from accessing Defendant’s
   7
        Leasing Office located on the Property. Defendants provide rental information,
   8
        rental applications, and other rental services on-site at the Property. Defendants’
   9
        agents confirmed to the Plaintiffs that rental information, rental applications, and
   10
        other rental services were available on-site at the Property. Defendants’ Leasing
   11
        Office at the Property is not accessible. The Named Individual Plaintiff has actual
   12
        knowledge of Defendants’ overt and obvious physical barriers, that relate to this
   13
        Plaintiff’s disabilities, to Defendants’ Property on-site office that provides rental
   14
        services that this Named Individual Plaintiff intended to visit but this Plaintiff was
   15
        deterred from accessing Defendant’s rental services at the office located on the
   16
        Property or off site. With respect to Defendants’ rental services located in the office,
   17
        the named individual Plaintiff determined that overt and obvious architectural
   18
        barriers and communication barriers exist that relate to his disabilities, that include
   19
        but are not limited to, the following: Defendants’ path of travel from the sidewalk to
   20
        the Leasing Office is not accessible since it has excessive slopes without handrails
   21

   22
        and step changes in level along the path. There is an excessive slope without

   23
        handrails that must be traversed to access the main entrance door leading into the

   24
        complex. The main entrance door leading into the complex fails to have the required

   25
        smooth and uninterrupted surface at the bottom of the door. There are also numerous

   26
        step changes in level that must be traversed to both access a second entrance door

   27
        leading into the complex and other areas of the complex. The second entrance door

   28

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   1
        also fails to have the required smooth and uninterrupted surface at the bottom of the
   2
        door. Defendant’s callbox is located too high to be accessible. Defendants do not
   3
        provide the required directional signage as to the designated path of travel from the
   4
        sidewalk to Defendant’s Leasing Office. Defendant’s Leasing Office entrance is not
   5
        accessible due to a significant step change in level at the Leasing Office door
   6
        threshold that is not beveled or ramped. The Named Individual Plaintiff uses a
   7
        wheelchair for mobility and these step changes in level, excessive slopes, and the
   8
        other stated issues cause the path of travel and the Leasing Office entry to be not
   9
        accessible. Defendants failed to provide any directional signage indicating an
   10
        alternate accessible path of travel to the Leasing Office. Defendants failed to
   11
        provide the required fully compliant van accessible disabled parking for the Leasing
   12
        Office. Defendants failed to provide a dimensionally compliant van accessible
   13
        disabled parking space and disabled parking access aisle, the required disabled
   14
        parking signage, including tow away signage, fine signage, ground markings, and
   15
        failed to locate said parking on a level surface and nearest the Leasing Office.
   16
        Defendants also failed to provide compliant tow away signage. The Named
   17
        Individual Plaintiff requires the use of a compliant van accessible disabled parking
   18
        space to safely exit and re-enter the vehicle. Defendants’ failure to provide the
   19
        required compliant disabled parking, disabled parking access aisle, disabled parking
   20
        disability signage, access aisle, and disability ground markings, such that the Named
   21

   22
        Individual Plaintiff is not able to safely park at Defendants’ establishment since the

   23
        individual Plaintiff may be precluded from exiting or re-entering the vehicle if the

   24
        disabled parking and disabled parking signage is not present and others park

   25
        improperly. Additionally, Defendants failed to provide the required accessible path

   26
        of travel from the parking area to the Leasing Office since the existing path of travel

   27
        has step changes in level and slopes that exceed the maximum permitted.

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   1
        Additionally, Defendants overt and obvious communication barriers were also
   2
        present at the Leasing Office in March, 2022, and in April, 2022. Defendants failed
   3
        to provide any method of text communication with their Leasing Office and failed to
   4
        publish any information as to how to initiate text communication contact. The
   5
        Named Individual Plaintiff had actual knowledge of these barriers at Defendants’
   6
        Property that Plaintiff intended to visit, and the Named Individual Plaintiff was
   7
        deterred from accessing Defendants’ Leasing Office at the Property again in May,
   8
        2022. See Property photos in Exhibit B.
   9
        26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
   10
        Defendants’ rental services at Defendants’ physical office location and Defendants’
   11
        websites are fully accessible to Plaintiff Club’s members, the named Individual
   12
        Plaintiff, and other people with disabilities. Plaintiff Club, its Club members, and the
   13
        named Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
   14
        conditions, and they are currently deterred from attempting further access until the
   15
        barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
   16
        return to Defendants’ Property and Defendants websites at the end of this action to
   17

   18
        obtain rental services, and to verify that the communication and architectural barriers

   19
        are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff

   20
        Club has numerous members residing near Defendants Property. Plaintiff Club’s

   21
        members have actual knowledge of the discriminatory conditions as alleged herein

   22
        when the Plaintiff Club investigated the Property and the rental services and

   23
        determined that the Club members would not be able to use the rental services due to

   24
        the discriminatory conditions. Therefore, Plaintiff Club members were and are
   25   deterred from visiting the properties. Plaintiff Members were not required to
   26   actually visit the properties. See Civil Rights Education & Enforcement Center v.
   27   Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
   28

                         13
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   1
        Plaintiff Cub did visit and attempt to access Defendants’ rental services at
   2
        Defendants’ physical office at the Property. Plaintiff Club and the individual
   3
        Plaintiff have specific plans to visit at the conclusion of this case to obtain rental
   4
        information and to verify the Defendants ceased its discriminatory conduct by
   5
        removing communication and physical barriers to access to the rental services.
   6

   7
         DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –
   8
        FAIR HOUSING ACT CLAIMS
   9
        27.   FHA Standing:
   10
              Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
   11
        complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
   12
        3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
   13
        named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
   14
        named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
   15
        other relief as hereinafter stated. The Federal Fair Housing Act applies to
   16
        Defendants’ apartment complex since it has more than 4 residential units. FHA
   17
        standing is substantially broader than standing under the ADA due to the critically
   18
        important need of adequate availability of housing for the disabled. A potential
   19
        plaintiff is not even required to have an interest in renting a particular property or
   20
        dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
   21
        F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
   22
        claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
   23
        whether or not the target of the discrimination, can sue to recover for his or her own
   24
        injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
   25
        34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
   26
        actually been denied to persons protected under the Act.” San Pedro Hotel v City of
   27
        Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
   28

                         14
                                                                                     COMPLAINT
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   1
        Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
   2
        and that the named Plaintiffs suffered monetary and other damages as a result. The
   3
        named Plaintiffs seek injunctive relief as well as damages, both of which are
   4
        available under 42 USC § 3613(c). Assuming arguendo in the present case, that
   5
        prospective injunctive relief was not available to Plaintiffs due to mootness or
   6
        otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
   7
        damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
   8
        Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
   9
        Thousand (3000) miles away and her injunctive claims became moot. However,
   10
        Plaintiff’s claim for damages survived and was not affected]. In the present case,
   11
        while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
   12
        above Ninth Circuit Harris court authority makes it clear that those prudential
   13
        standing requirements for injunctive relief are not applicable to Plaintiffs FHA
   14
        damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
   15
        prospective injunctive relief is not available. The present Plaintiff Club has
   16
        organization standing separately on its own under the FHA. Additionally, under the
   17
        FHA, Plaintiff Club has associational standing to assert its Club member claims
   18
        since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
   19
        Club and the named Individual Plaintiff have standing with respect to the following
   20
        FHA claims.
   21

   22
        CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
   23
        Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
   24
        Train Staff, And Failure To Make The Policy Known To The Plaintiffs
   25
        28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
   26
        complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
   27
        this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
   28

                         15
                                                                                   COMPLAINT
                                                                                      CASE #
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   1
        rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
   2
        because of a handicap of (A) that buyer or renter; (B) a person residing in or
   3
        intending to reside in that dwelling after it is so sold, rented, or made available; or…
   4
        §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
   5
        v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
   6
        scheme permits disparate impact claims, and those type of claims do not require
   7
        intent]. due to Defendants’ communication and architectural barriers, Defendants
   8
        discriminated against Plaintiffs by failing to have a policy, practice, or method for
   9
        Plaintiffs to make a reasonable accommodation request for equal access to their
   10
        rental services on their website or at their on-site office at the Property. Defendants
   11
        have an affirmative duty to have a policy, process to receive such accommodation
   12
        requests and to respond to said requests. See Giebeler v. M & B Associates, 343 F.3d
   13
        1143 (9th Cir. 2003). As a result, Defendant caused Plaintiffs to suffer disparate
   14
        impact discrimination.
   15

   16
        CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
   17
        Housing Act And California Fair Employment And Housing Act
   18
        29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
   19
        complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
   20
        section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
   21
        engage in a good-faith interactive process to determine and to implement effective
   22
        reasonable accommodations so that Plaintiffs could gain equal access Defendants’
   23
        rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’
   24
        physical office on or off the site and apartments.
   25
        CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
   26
        30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
   27
        complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
   28

                         16
                                                                                    COMPLAINT
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   1
        this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
   2
        discriminate against any person in the terms, conditions, or privileges of sale or
   3
        rental of a dwelling, or in the provision of services or facilities in connection with
   4
        such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
   5
        above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
   6
        prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
   7
        named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s office
   8
        located on the Property is a “facility” in connection with the rental of a dwelling and
   9
        the on-site rental services provided within the office fall within the FHA statute. In
   10
        the instant case, the named Plaintiffs both assert that Defendant’s failure to remove
   11
        communication and architectural barriers to permit access to Defendant’s on-site
   12
        rental services contained within the office is a separate, independent, actionable
   13
        violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
   14
        predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
   15
        physical barriers to access its rental services provided in its on-site office. See ¶¶25 -
   16
        26. The 9th Circuit Smith court stated that the mere observation of overt architectural
   17
        barriers is actionable. Smith at 1104 [“To read an additional standing requirement
   18
        into the statute beyond mere observation, however, ignores that many overtly
   19
        discriminatory conditions, for example, lack of a ramped entryway, prohibit a
   20
        disabled individual from forming the requisite intent or actual interest in renting or
   21
        buying for the very reason that architectural barriers prevent them from viewing the
   22
        whole property in the first instance” (emphasis in original)]. The Smith court found
   23
        Defendants liable under this FHA subsection even though that case did not involve
   24
        ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
   25
        observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
   26
        Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
   27
        had actual knowledge of Defendants’ communication and architectural barriers and
   28

                         17
                                                                                    COMPLAINT
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   1
        Plaintiff Davis was deterred from obtaining equal access to Defendant’s office
   2
        facility and its rental services located therein. Defendants also discriminated against
   3
        Plaintiffs by failing to modify its practices and policies to provide access via other
   4
        methods of access to its rental services contained within the office on or off the site.
   5
        Defendant’s failure to remove the architectural and communication barriers to access
   6
        its facilities and the rental services located therein, or to provide an accommodation
   7
        to provide methods of alternate access to the office facility, providing rental services
   8
        constitutes the prohibited discrimination, separately and independently.
   9
        Additionally, Defendant’s conduct is also prohibited under ADA Title III and
   10
        constitutes a second, separate, independent source of discrimination against Plaintiffs
   11
        in violation of FHA § 3604(f)(2). Since Defendants discriminatory conduct involves
   12
        Defendants’ rental facilities and its rental services located therein, Plaintiffs assert
   13
        any discriminatory conduct found in violation of ADA Title III also constitutes
   14
        prohibited “discrimination” under FHA § 3604(f)(2).
   15
        CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
   16
        31.   Plaintiffs do not make any claim against Defendants for a failure to “design
   17
        and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
   18
        above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
   19
        Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
   20
        that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
   21
        to make reasonable accommodations in rules, policies, practices, or services, when
   22
        such accommodations may be necessary to afford such person equal opportunity to
   23
        use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
   24
        Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
   25
        repeated written and other requests for an accommodation to have equal access to its
   26
        rental services.
   27
        ///
   28

                           18
                                                                                      COMPLAINT
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   1
        CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
   2
        32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
   3
        elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
   4
        the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
   5
        respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
   6
        Defendants discriminated against them when Defendants made, printed, or
   7
        published, or caused to be made printed, or published notices, statements, or
   8
        advertisements (“NSA”) that suggest to an ordinary reader a preference to attract
   9
        tenants without disabilities. Defendants' Internet advertising regarding its rental
   10
        services has an unlawful disparate impact on Plaintiffs.
   11

   12
        SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
   13
        33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
   14
        Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
   15
        elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
   16
        reasonable accommodations in rules, policies, practices, or services in violation of
   17
        CA Government Code sections 12927 and 12955.2, when these accommodations
   18
        may be necessary to afford a disabled person equal opportunity to use and enjoy
   19
        Defendants’ rental services. As stated in detail above, Defendants refused to make
   20
        reasonable accommodations with the instant Plaintiffs and discriminated against each
   21
        of them on the basis of disability.
   22

   23
        THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
   24
        The Americans With Disabilities Act Of 1990
   25
        34.   ADA Standing:
   26
              ADA Title III does cover public and common use areas at housing
   27

   28

                         19
                                                                                   COMPLAINT
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   1
        developments when these public areas are, by their nature, open to the general
   2
        public. An office providing rental services is open to the general public. (See U.S.
   3
        Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
   4
        Illustration 3, office on or off the site covered). The parking and paths of travel to
   5
        the office on or off the site are also covered. See Section III–1.2000, ADA Title III
   6
        Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
   7
        3: A private residential apartment complex contains a office on or off the site. The
   8
        office on or off the site is a place of public accommodation”). See Kalani v Castle
   9
        Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
   10
        Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
   11
        (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
   12
        present case, the named Plaintiffs have sufficiently alleged that Defendants have an
   13
        office at the Property that provides rental services. Following prior sister Circuit
   14
        Courts of Appeals decisions, our Ninth Circuit Court very recently held that an ADA
   15
        Plaintiff can be only a “tester” and have standing. See Civil Rights Education &
   16
        Enforcement Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017)
   17
        [the Ninth Circuit CREEC court held (1) ADA “tester” standing is valid and a
   18
        Plaintiff’s motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect
   19
        doctrine” claim does not require a Plaintiff to have a personal encounter with the
   20
        barrier to equal access, only to have knowledge of the barrier] citing Havens Realty
   21
        Corp. v. Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific
   22
        Properties and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004);
   23
        Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc);
   24
        Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013);
   25
        Colo. Cross Disability Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11
   26
        (10th Cir. 2014). In the present case, the named Plaintiffs each have ADA standing.
   27
        Plaintiffs have alleged that Defendants discriminated against Plaintiffs in violation of
   28

                         20
                                                                                    COMPLAINT
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   1
        ADA Title III statutes and regulations as detailed further in the ADA claims stated
   2
        below. As a result, the named Plaintiffs have each suffered injury and each seek
   3
        only injunctive and declaratory relief pursuant to their ADA Claims.
   4
        CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
   5
        35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
   6
        may be necessary to ensure that no individual with a disability is excluded, denied
   7
        services, segregated or otherwise treated differently than other individuals because of
   8
        the absence of auxiliary aids and services, unless the entity can demonstrate that
   9
        taking such steps would fundamentally alter the nature of the good, service, facility,
   10
        privilege, advantage, or accommodation being offered or would result in an undue
   11
        burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
   12
        complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
   13

   14
        violated said provision. Plaintiffs set forth the factual basis for this claim most

   15
        specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place

   16
        of public accommodation, not services in a place of public accommodation. To limit

   17
        the ADA to discrimination in the provision of services occurring on the premises of a
   18   public accommodation would contradict the plain language of the statute.” Nat’l
   19   Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
   20   (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
   21   1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
   22   provides, it cannot discriminate on the basis of disability in providing enjoyment of
   23   those goods and services”]). An ADA plaintiff may challenge a business’ online
   24   offerings as well. So long as there is a “nexus”—that is, “some connection between
   25   the good or service complained of and an actual physical place”—a plaintiff may
   26   challenge the digital offerings of an otherwise physical business. See Gorecki v.
   27   Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:
   28

                         21
                                                                                     COMPLAINT
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   1
        CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
   2
        communication to the instant Plaintiffs and to people with disabilities. In the
   3
        present case, Plaintiffs experienced and have knowledge that Defendants failed to
   4
        have a required procedure to provide effective communication. Plaintiffs allege that
   5
        Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
   6
        did not provide any auxiliary aid and the Defendants did not provide any reasonable
   7
        accommodation to the overt and obvious communication barriers, and failed to
   8
        respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
   9
        Defendants provide a specific reasonable accommodation or a specific auxiliary aid.
   10

   11
        ADA law allows the Defendants to decide what auxiliary aid and reasonable

   12
        accommodation will be provided. In this case, however, Defendants failed to

   13
        provide any reasonable accommodation for the overt and obvious communication

   14
        barriers to equal access to their rental services, failed to provide any auxiliary aid,

   15   and failed to provide any effective communication. Plaintiffs allege that Defendants’
   16   websites provide a contact number for the general public, but Defendants failed to
   17   provide Plaintiffs with the required effective communication using texting or other
   18   alternate means of communication for Plaintiffs and other people with a deaf
   19   condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
   20   Club’s members that have hearing disabilities and Club’s members with speech
   21   disabilities. Defendants are required to provide, on Defendants’ websites, to provide
   22   a method to effectively communicate with Plaintiff Club members that have hearing
   23   and speech disabilities, and other people that are deaf or have speech impairments.
   24

   25   CLAIM II: Denial of Participation
   26   36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to
   27   subject an individual or class of individuals on the basis of a disability or disabilities
   28

                         22
                                                                                     COMPLAINT
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   1
        of such individual or class, directly, or through contractual, licensing, or other
   2
        arrangements, to a denial of the opportunity of the individual or class to participate in
   3
        or benefit from the goods, services, facilities, privileges, advantages, or
   4
        accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
   5
        elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
   6
        Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
   7
        most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
   8
        violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
   9
        CLAIM III: Participation in Unequal Benefit
   10

   11
        37.   Defendants provide unequal benefit for people with disabilities in violation of

   12
        42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts

   13
        plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,

   14
        believe, and thereon allege that Defendants discriminated against Plaintiffs in

   15   violation of said provision. Plaintiffs set forth the factual basis for this claim most
   16   specifically at ¶¶ 20-24 above.
   17   CLAIM IV: Separate Benefit
   18   38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
   19   United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
   20   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
   21   believe, and thereon allege that Defendants discriminated against Plaintiffs in
   22   violation of said provision. Plaintiffs set forth the factual basis for this claim most
   23   specifically at ¶¶ 20-24 above.
   24   CLAIM V: Integrated Settings
   25   39.   Defendants’ rental services are not integrated for Plaintiffs and people with
   26   disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §
   27   12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
   28

                         23
                                                                                      COMPLAINT
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   1
        Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
   2
        against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
   3
        for this claim most specifically at ¶¶ 20-24 above.
   4
        CLAIM VI: Failure To Modify Practices, Policies And Procedures
   5
        40.   Defendants failed and refused to provide a reasonable alternative by
   6
        modifying its practices, policies, and procedures in that they failed to have a scheme,
   7
        plan, or design to accommodate Plaintiff Club, its Club members, the individual
   8
        named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
   9
        services, at its websites and its office at the Property, in violation of 42 United States
   10
        Code 12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
   11
        above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
   12
        allege that Defendants discriminated against Plaintiffs in violation of said provision.
   13
        Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
   14
        CLAIM VII: Failure To Remove Architectural And Communication Barriers
   15
        41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
   16
        communication barriers as required in violation of 42 United States Code
   17
        12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
   18
        above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
   19
        allege that Defendants discriminated against the named Individual Plaintiff in
   20
        violation of said provision. Plaintiffs set forth the factual basis for this claim most
   21
        specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
   22
        reviewed all the information and photographs of Defendants’ property. As a result,
   23
        the named Individual Plaintiff has actual knowledge of the physical and
   24
        communication barriers that exist at Defendants’ Property. The named Individual
   25
        Plaintiff determined that the physical barriers that exist at Defendants’ property,
   26
        directly relate to his disabilities, and make it impossible or extremely difficult for
   27
        him to physically access Defendants’ rental services at the Property. The named
   28

                         24
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   1
        Individual Plaintiff was deterred by his actual knowledge of the physical and
   2
        communication barriers that exist at Defendants’ Property which include but are not
   3
        limited to the barriers to facilities for disabled parking, exterior path of travel to the
   4
        office, the office entrance, and office interior, since said Defendants’ facilities were
   5
        not accessible because they failed to comply with the Federal ADA Accessibility
   6
        Guidelines (“ADAAG”) and California's Title 24 Building Code Requirements. See
   7
        ¶¶ 25 for details. The named Individual Plaintiff had actual knowledge of these
   8
        barriers and determined that it would be futile gesture for him to go to the Property
   9
        on the date that he had originally intended. The named Individual Plaintiff is
   10
        currently deterred from returning due to his knowledge of the barriers. At the end of
   11
        this action, the named Individual Plaintiff intends to return to Defendants’ physical
   12
        office on or off the site location to obtain rental information and verify that the
   13
        communication and physical barriers to Defendants’ rental services are removed.
   14
        Defendants failure to remove the barriers to equal access constitutes discrimination
   15
        against the named Individual Plaintiff.
   16
        CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
   17
        42.   Defendants are required to make alterations to their facilities in such a manner
   18
        that, to the maximum extent feasible, the altered portions of the facility are readily
   19
        accessible to and usable by individuals with disabilities, including individuals who
   20
        use wheelchairs pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8
   21
        - 26 above and elsewhere in this complaint, the named Plaintiffs are informed,
   22
        believe, and thereon allege that Defendants violated this provision. Plaintiffs allege
   23
        that Defendants altered their facility in a manner that affects or could affect the
   24
        usability of the facility or a part of the facility after January 26, 1992. In performing
   25
        the alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
   26
        manner that, to the maximum extent feasible, the altered portions of the facility are
   27
        readily accessible to and usable by individuals with disabilities, including individuals
   28

                         25
                                                                                      COMPLAINT
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   1
        who use wheelchairs, in violation of 42 U.S.C. §12183(a)(2).
   2
        CLAIM IX: Administrative Methods
   3
        43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract
   4
        with website providers without making sure that the websites will be accessible to
   5
        people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42
   6
        U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
   7
        complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
   8
        discriminated against the named Individual Plaintiff in violation of said provision.
   9
        Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.
   10

   11
        CLAIM X: Screen Out
        44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened
   12
        out Plaintiffs and other people with disabilities in violation of 42 United States Code
   13
        12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
   14
        above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
   15

   16
        allege that Defendants discriminated against the named Plaintiffs in violation of said

   17
        provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8

   18
        - 26 above. Defendants screened out the named Plaintiffs from its rental services and

   19
        processes, because Defendants failed to remove architectural and communication

   20
        barriers to its website and physical office, failed to provide required effective

   21
        alternate communication methods, and failed to provide required auxiliary aids.

   22
        CLAIM XI: Denial Of Full And Equal Access
   23   45.   Defendants are required to provide full and equal access to Defendants' rental
   24   services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
   25   United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
   26   8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
   27   thereon allege that Defendants discriminated against the named Plaintiffs in violation
   28

                         26
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   1
        of said provision. Plaintiffs set forth the factual basis for this claim most specifically
   2
        at ¶¶ 8 - 26 above.
   3

   4    CLAIM XII: Failure To Investigate And Maintain Accessible Features
   5
        46.    Defendants made repairs and administrative changes which violated ADA and
   6
        its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible
   7
        features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
   8
        Defendants failed to provide and then maintain any accessible features in its parking,
   9
        path of travel, office on or off the site services and website rental services. Plaintiffs
   10
        are informed, believe, and thereon allege that Defendants discriminated against the
   11
        named Plaintiffs in violation of this provision.
   12

   13   CLAIM XIII: Association
   14
        47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
   15
        Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
   16
        against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
   17

   18         DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
   19          FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
   20   PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
   21                                 ACCESSIBILITY LAWS
   22   CLAIM I: Denial Of Full And Equal Access
   23   48. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
   24   named Individual Plaintiff was denied full and equal access to Defendants' goods.
   25   services, facilities, privileges, advantages, or accommodations within a public
   26   accommodation owned, leased, and/or operated by Defendants as required by Civil
   27   Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
   28

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   1
        18-28 above.
   2
        CLAIM II: Failure To Modify Practices, Policies And Procedures
   3
        49.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
   4
        the named Individual Plaintiff was denied full and equal access to Defendants' goods.
   5
        Defendants failed and refused to provide a reasonable alternative by modifying its
   6
        practices, policies, and procedures in that they failed to have a scheme, plan, or
   7
        design to assist Plaintiff Members and/or others similarly situated in entering and
   8
        utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
   9
        this claim is at 18-28 above.
   10
        CLAIM III: Violation Of The Unruh Act
   11
        50.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
   12
        the individual, the named Individual Plaintiff was denied full and equal access to
   13
        Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
   14
        failing to comply with Civil Code §51(f). Defendants' facility violated state
   15
        disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
   16
        Building Code by failing to provide equal access to Defendants’ facilities.
   17
        Defendants did and continue to discriminate against Plaintiff Members in violation
   18
        of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
   19
                   Treble Damages Pursuant To California Accessibility Laws
   20
        51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
   21
        only the named Individual Plaintiff prays for an award of treble damages against
   22
        Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
   23
        54.3(a). Defendants, each of them respectively, at times prior to and including the
   24
        day the named Individual Plaintiff attempted patronized Defendants’ facilities and
   25
        rental services, and continuing to the present time, knew that persons with physical
   26
        disabilities were denied their rights of equal access. Despite such knowledge,
   27
        Defendants, and each of them, failed and refused to take steps to comply with the
   28

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   1
        applicable access statutes; and despite knowledge of the resulting problems and
   2
        denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
   3
        and each of them, have failed and refused to take action to grant full and equal access
   4
        to the individual Plaintiff in the respects complained of hereinabove. Defendants,
   5
        and each of them, have carried out a course of conduct of refusing to respond to, or
   6
        correct complaints about, denial of disabled access and have refused to comply with
   7
        their legal obligations to make Defendants’ public accommodation facilities and
   8
        rental services accessible pursuant to the ADAAG and Title 24 of the California
   9
        Code of Regulations (also known as the California Building Code). Such actions
   10
        and continuing course of conduct by Defendants in conscious disregard of the rights
   11
        and/or safety of the named Individual Plaintiff justify an award of treble damages
   12
        pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
   13

   14
                            DEMAND FOR JUDGMENT FOR RELIEF:
   15
        A.     All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
   16
        42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
   17
        pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
   18
        this court to enjoin Defendants to cease their discriminatory practices in housing
   19
        rental services, rental housing management services, and for Defendants to
   20
        implement written policies and methods to respond to reasonable accommodation
   21
        and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
   22
        request this Court enjoin Defendants to remove all barriers to equal access to the
   23
        disabled Plaintiffs in, at, or on their facilities, including but not limited to
   24
        architectural and communicative barriers in the provision of Defendants’ rental
   25
        services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
   26
        Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
   27
        not seek any relief at all pursuant to Cal. Civil Code §55.
   28

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   1
        B.    All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
   2
        However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
   3
        damages on behalf of its members;
   4
        C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
   5
        to Cal. Civil Code §§ 52 or 54.3;
   6
        D.    Only the named Individual Plaintiff seeks $4,000 in minimum statutory
   7
        damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
   8
        51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
   9
        E.    In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
   10
        C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
   11
        damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
   12
        § 54.1;
   13
        F.    All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
   14
        U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
   15
        G.    Only the named individual Plaintiff seeks treble damages pursuant to Cal.
   16
        Civil Code §§ 52(a) or 54.3(a);
   17
        H.    The named Plaintiffs are seeking perspective injunctive relief to require the
   18
        Defendants to provide obvious reasonable accommodations, to provide the required
   19
        auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
   20
        Defendants in the provision of Defendants’ rental services. Without perspective
   21
        relief the Plaintiffs will suffer future harm.
   22
        ///
   23
        ///
   24
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   1
        I.    All named Plaintiffs seek a Jury Trial and;
   2
        J.    For such other further relief as the court deems proper.
   3

   4    Respectfully submitted:
   5
                                                     LIGHTNING LAW, APC
   6
        Dated: May 25, 2022
   7
                                              By:    /s/David C. Wakefield
   8                                                 DAVID C. WAKEFIELD, ESQ.
   9
                                                     Attorney for Plaintiffs

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